                        Case 2:06-cr-00127-TLN Document 24 Filed 06/06/06 Page 1 of 2
                                               UNITED STATES DISTRICT COURT
                                              EASTERN DISTRICT OF CALIFORNIA

                                      PRETRIAL SERVICES VIOLATION PETITION
The United States,

     -vs-

Abdul-Rashid M. Tanko                                                                      Docket No. 2:06-CR-00127 GEB

COMES NOW Steven J. Sheehan, Pretrial Services Officer of the Court, presenting an official report upon the conduct and attitude of
Abdul-Rashid Mustaphia Tanko, who was placed on bond by the Honorable Kimberly J. Mueller, U.S. Magistrate Judge, sitting in the Court
at Sacramento, California, on the 30 th day of March, 2006, who imposed the general terms and conditions of pretrial supe rvision there tofore
adopted by the C ourt and also impose d special terms and conditions as follows:

OFFENSE: 21 U.S.C. 841(a)(1) - Distribute or Possession with Intent to Distribute “MDM A” and Cocaine .

BOND CONDITIONS: The defend ant was released on a $65,000 bond, to be secured within two weeks by the property of his mother, Emma
Tanko, with Pretrial Services supervision and special conditions of release. Please see attachment.

RESPECTFULLY PRESENTIN G PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
Mr. Tanko submitted a urine sample to The Effort, located in Sacramento, California, on May 22, 2006, which tested positive for MDA/
MDMA, which is a controlled substance. On May 18, 2006, the defendant tested positive for marijuana, which appears to be new use.
Also, according to The Effort, Mr. Tanko failed to report to their facility on Friday, June 2, 2006, for a drug test.

PRAYING THAT THE COURT WILL ORDER a bail violation hearing be calendered at 2:00 p.m. on Wednesday, June 7, 2006. All
parties are available to appear before the Court on the proposed date.

LAST KNOWN ADDRESS:                On file with Pretrial Services
TELEPHONE NUMBER:                  On file with Pretrial Services

I declare under penalty of perjury that the foregoing is true and correct.
                                                                                   Respectfully submitted,

                                                                                   /s/ Steven J. Sheehan

                                                                                   Steven J. Sheehan
                                                                                   Pretrial Services Officer
                                                                                   June 5, 2006
                                                                 ORDER

_____ The Court hereby orders a bench warrant be issued for the arrest of said defendant, bail set at $ ___.
_____ The Court hereby orders this ex parte motion and order be sealed.
_____ The Court orders a summons be issued with an appearance date of _________________________.
 X    The Court hereby orders this matter placed on this court's calendar on June 7, 2006, at 2 p.m. and orders the Pretrial Services
      Officer to contact the defendant and/or attorney of record to advise them of said order.
_____ The Court orders no action be taken.
                                                                       Considered and ordered this 6th day of
                                                                       June, 2006, and ordered filed and
                                                                       made a part of the records in the above case.



                                                                     ______________________________________
                                                                     UNITED STATES MAGISTRATE JUDGE
          Case 2:06-cr-00127-TLN Document 24 Filed 06/06/06 Page 2 of 2
Pretrial Services Violation Petition - page 2
Tanko, Abdul-Rashid M.


SPECIAL CONDITIONS OF RELEASE:

1.     You shall report to and comply with the rules and regulations of the Pretrial Services Agency;

2.     You shall report in person to the Pretrial Services Agency on the first working day following your release;

3.     You shall reside at a location approved by the pretrial services officer and not move or absent yourself from this
       residence for more than 24 hours without the prior approval of the pretrial services officer;

4.     You shall not possess a firearm, destructive device, or other dangerous weapon; additionally, you shall provide
       written proof of divestment of all firearms currently under your control;

5.     You shall refrain from any use of alcohol or any use of a narcotic drug or other controlled substance without
       a prescription by a licensed medical practitioner; and you shall notify Pretrial Services immediately of any
       prescribed medications. However, medicinal marijuana, prescribed or not, may not be used;

6.     You shall submit to drug or alcohol testing as approved by the pretrial services officer;

7.     Your travel is restricted to the Eastern District California without the prior consent of the pretrial services
       officer;

8.     You shall seek and/or obtain valid employment and provide income verification to Pretrial Services as directed;

9.     You shall not associate or have any contact with the co-defendant in this case, unless in the presence
       of defense counsel;

10.    You shall not obtain a passport during the pendency of this case;

11.    You shall make a diligent effort to take care of any existing traffic matters pending in Sacramento County
       immediately and attend all required court hearings, and you shall provide verification to Pretrial Services as
       directed; and

12.    You shall immediately report any contact with law enforcement to Pretrial Services.


On May 15, 2006, Magistrate Judge Gregory G. Hollows amended the defendant’s conditions of release to include
outpatient substance abuse counseling as directed by Pretrial Services.
